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                     IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 THE ESTATE OF ELEANOR NORTHINGTON,                    )
                                                       )
                             Plaintiff,                )
                                                       )
                      v.                               )
                                                       )
 CITY OF INDIANAPOLIS AND INDIANAPOLIS                 )   Case No. 1:21-cv-406
 METROPOLITAN POLICE DEPARTMENT AND                    )
 JOHN DOE, POLICE OFFICERS 1-50 IN THEIR               )
 INDIVIDUAL AND OFFICIAL CAPACITIES,                   )
 AND MT. CALVARY APOSTOLIC CHURCH,                     )
 INC.,                                                 )
                                                       )
                             Defendants.               )

                                NOTICE OF REMOVAL

         The Defendants, City of Indianapolis and Indianapolis Metropolitan Police

Department (“Defendants”), by counsel, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446,

file their notice that this case has been removed from the Marion County Superior Court,

Cause Number 49D02-2101-CT-002698, to the United States District Court for the

Southern District of Indiana, Indianapolis Division. In support of this notice, Defendants

state:

         1.    On January 26, 2021 Plaintiff filed a Complaint in the Marion County

Superior Court against the Defendants which alleged in part that they “violat[ed]…Ms.

Northington’s Fourth and Fourteenth Amendment Rights.”

         2.    This Court has original jurisdiction over civil actions arising under the

Constitution and laws of the United States. 28 U.S.C. § 1331. Thus, this Court has original
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jurisdiction over this civil action because Plaintiff’s claims arise under the Constitution

and laws of the United States.

       3.     Defendants may remove this civil action because it was brought in State

court when this Court had original jurisdiction over this action. See 28 U.S.C. § 1441(a).

       4.     Further, this Court has supplemental jurisdiction over Plaintiff’s state-law

claims. 28 U.S.C. § 1367.

       5.     Indeed, federal law grants Defendants the option of removing an entire

action when this Court has original jurisdiction over the action. See 28 U.S.C.A. § 1441(c).

       6.     This notice of removal is being filed within 30 days of Defendants’ receipt

of the Plaintiff’s Complaint and the Defendants shall submit copies of all process,

pleadings, and orders served upon them pursuant to 28 U.S.C. § 1446(b).

       7.     There are currently no pending motions.

       8.     The Co-Defendant Mount Calvary Apostolic Church, Inc. (the “Church”),

consistent with § 1446, provides explicit consent to the removal of this action from Marion

Superior Court to the United States District Court for the Southern District of Indiana.

Counsel for the Church authorized the Defendants’ counsel to sign this notice of removal

on his behalf. Thus, all Defendants sued in this action consent to removal.

       WHEREFORE,           the   Defendants,   City   of   Indianapolis   and   Indianapolis

Metropolitan Police Department hereby remove this civil action from the Marion County

Superior Court, Cause Number 49D02-2101-CT-002698 to the United States District Court

for the Southern District of Indiana, Indianapolis Division.



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                                   Respectfully submitted,

                                   OFFICE OF CORPORATION COUNSEL

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                                   and

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                             CERTIFICATE OF SERVICE

      I certify that this document was electronically filed on February 22, 2021. The same

day, the following non e-filing users were served via United States Postal Service:

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